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             IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                               DIVISION OF ST. CROIX

 ROSELYN THEODORE,

                  Plaintiff,                           Civil Action No. 2021-0178

                        v.

 HESS CORPORATION;
 HESS OIL NEW YORK CORP.,
 as successor by merger of
 HESS OIL VIRGIN ISLANDS CORP.;
 GLENCORE LTD.;
 LOCKHEED MARTIN CORP.; and
 COSMOGONY II, INC.

                Defendants,


 HESS CORPORATION and
 HESS OIL NEW YORK CORP.,

              Cross-Claimants/
                 Cross-Defendants,

                   v.

 GLENCORE LTD. and
 LOCKHEED MARTIN CORP.,

             Cross-Defendants/
                 Cross-Claimants.



 PLAINTIFF’S NOTICE OF WITHDRAWAL OF HER ANSWERS OF SEPT. 6, 2022
  TO QUESTIONS #3 AND #4 TO THE SHOW CAUSE ORDER OF JULY 30, 2022

      Plaintiff Roselyn Theodore’s Notice of Withdrawal per answers to questions #3 and #4 is

regarding this Court’s Order to Show Cause, Doc.64, dated July 30, 2022 (the “Order”), and

Plaintiff’s Memorandum in Response to the Court’s Show Cause Order, Doc.68, dated September

6, 2022 (the “Memorandum”).
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       Plaintiff files this Notice as Hess/HOVIC/HONX (“HHH”) has filed a motion in the

Bankruptcy Court stating that Plaintiff has allegedly violated the automatic stay by responding to

this Honorable Court’s Order.

       In this Honorable Court’s Order, this Court directed each party to file a memorandum with

supporting authorities addressing four issues. The last two issues (numbered 3 and 4) concerned

whether the automatic stay pertained to each of the non-Debtor defendants in the case, including

Hess Corporation. The Court noted authorities in the Third Circuit which hold that Remand does

not effect the Automatic Stay, and also asked the Parties why these authorities would not be

persuasive or binding on the District Court (in questions #1 and #2 in the Order).

       On August 8, 2022, attorneys for Hess/HOVIC/HONX from the Beckstedt & Kuczynski

Law Firm emailed Plaintiff’s local counsel requesting that the parties agree to a proposed Joint

Stipulated Extension of Time to respond to the Order. A draft stipulation was then circulated to

all parties (which included the Plaintiff, Lockheed Martin, and Glencore) by HHH’s counsel.

       After review and approval by all Parties, on August 12, 2022, Beckstedt & Kuczynski filed

the Stipulation for an extension of time to September 16 to respond to this Court’s Order. (See

Stipulation as Doc.66). Nowhere in this Stipulation did it state that Hess/HOVIC/HONX

believed that merely answering an Order from this Honorable Court would allegedly violate

the automatic stay, and no drafts of the Stipulation that were circulated to the Parties ever

contained any such language.

       On August 26, 2022, this Honorable Court issued an Order approving the extension of time

until September 16, 2022. Further, this Honorable Court summarized the facts/issues raised by

HHH in its Stipulation regarding the extension of time. Of course, none of the reasons the Court

itemized included the belief that HHH wanted an extension because it believed any answer to the

Court’s order would be violative of the Stay.
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       On September 6, 2022, Plaintiff duly responded to this Honorable Court’s Order as to all

four issues requested. On September 13, 2022, Lockheed Martin responded to the Order, and

today, on September 16, 2022, Glencore and HHH responded to the Show Cause Order.

       Concurrent to HHH’s response to the Show Cause – a full 10 days after Plaintiff’s response

was filed on September 6, 2022 – HHH’s bankruptcy law firm of Kirkland & Ellis, contacted lead-

counsel to the Official Committee of Unsecured Creditors in Honx’s chapter 11 case (Akin Gump

Strauss Hauer & Feld, LLP) claiming that, by responding to the Order, Plaintiff purportedly

violated (1) the Bankruptcy Court’s order regarding the extension of the automatic stay to Hess

Corp., and (2) my co-counsel’s “agreement” to come before the Houston Bankruptcy Court Judge

Isgur regarding any future issues regarding the extent of the automatic stay. Akin Gump relayed

this threat-of-an-automatic-stay-violation message to me, and that HHH may be filing pleadings

to this effect in the Bankruptcy Court (which they ultimately did this evening).

       One important additional fact is worth mentioning. In the HONX bankruptcy case, all

Parties had a massive two day global mediation in New York with two high-profile mediators on

September 1 and 2. Just yesterday, on September 15, as set forth in a notice placed on the

Bankruptcy Court’s docket, the mediation was terminated due to impasse.

       From the facts and events above, I sadly find this a case of classic sandbagging. HHH filed

a Joint Stipulation extending the time to respond to the Order, but the Stipulation expressed no-

problems with answering this Honorable Court’s Order. The Court approved the Stipulation.

Plaintiff filed her Show Cause response on September 6, 2022. However, only after the mediation

terminated yesterday on September 15 – and HHH are finally facing the deadline of September 16

– an extended date they requested – a full ten days after Plaintiff filed her Show Cause response,

does HHH now say Plaintiff committed a purported violation. Moreover, I do not see that HHH

contacted Glencore or Lockheed to also advise them or their purported violations in responding to

this Honorable Court’s order; so perhaps this is HHH’s strategic sandbagging to the plaintiff only.
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       Nevertheless, in an abundance of caution, please accept this Notice of Withdrawal as

Plaintiff’s request that our answers to questions 3 and 4 of the Order be deemed withdrawn,

as well as any request for relief we made regarding questions 3 and 4 in our Memorandum.

While we don’t believe anything we stated in our Memorandum is incorrect, we simply would like

to withdraw any action which might run afoul of the Bankruptcy Court (or any “agreements” made

as to how the automatic stay should be addressed). Akin Gump has notified HHH bankruptcy

counsel Kirkland & Ellis that I would file this Notice of Withdrawal with the Court this evening,

and HHH’s bankruptcy counsel cited to this in their pleadings filed with the Bankruptcy Court

earlier this evening.

       In conclusion, this Honorable Court does not need the Plaintiff’s two-cents. This Honorable

Court is clearly aware of the law in the Third Circuit and the powers it possesses.

Dated: September 16, 2022                    Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        It is hereby certified that on this the 16th day of September 2022, a true and exact copy of
the foregoing document was served via ECF e-filing to:

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